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        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 14-901V
                                       Filed: April 1, 2015
                                          Unpublished

****************************
DIANA DARKEN,                         *
                                      *
                   Petitioner,        *       Stipulation on Damages;
                                      *       Influenza (“Flu”) Vaccine; Shoulder
                                      *       Injury Related to Vaccine Administration
SECRETARY OF HEALTH                   *        (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                   *
                                      *
                   Respondent.        *
                                      *
****************************
Andrew Downing, Esq., Van Cott & Talamante, PLLC, Phoenix, AZ, for petitioner.
Debra Begley, Esq., US Department of Justice, Washington, DC, for respondent.

                                   DECISION ON STIPULATION1

Vowell, Chief Special Master:

         On September 24, 2014, Diana Darken filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she suffered a shoulder injury
related to vaccine administration (“SIRVA”) that was caused-in-fact by her influenza
(“flu”) vaccination administered on October 23, 2013. Stipulation, filed Mar. 31, 2015, ¶¶
2, 4. Petitioner further alleges that she experienced the residual effects of her injury for
more than six months, has filed no other action for this injury, and has received no prior
award or settlement. Stipulation¶¶ 4-5. Respondent denies that petitioner’s flu vaccine
caused petitioner’s SIRVA, or any other injury. Stipulation, ¶ 6.




1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post it on the United States Court of Federal Claims' website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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       Nevertheless, the parties have agreed to settle the case. Stipulation, ¶ 7. On
March 30, 2015, the parties filed a stipulation agreeing to settle this case and describing
the settlement terms.

       Respondent agrees to pay petitioner a lump sum of $95,000.00 in the form of a
check payable to petitioner. Stipulation, ¶ 8. This amount represents compensation for
all damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

      I adopt the parties’ stipulation attached hereto, and award compensation in the
amount and on the terms set forth therein. In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment in
accordance with this decision.3

                                        s/Denise K. Vowell
                                        Denise K. Vowell
                                        Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each filing a notice renouncing
the right to seek review by a United States Court of Federal Claims judge.
                                                     2
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